        Case 2:22-cv-05947-GRB-JMW Document 8 Filed 10/05/22 Page 1 of 3 PageID #: 31

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

JASMINE CAMPBELL, on behalf of herself and others                    )
             similarly situated,                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 2:22-cv-5947(GRB)(JMW)
                                                                     )
LEARN & PLAY CENTER INC. d/b/a LEARN & PLAY
                                                                     )
 CENTER and BRIGHT START HOME LEARNING
  CENTER, YVONNE CONDE, and JACQUELINE
                                                                     )
                 CONDE,                                              )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)LEARN & PLAY CENTER INC.
                                      c/o Corporation Service Company
                                      80 State Street
                                      Albany, New York 12207




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Clara Lam, Esq.
                                      Brown Kwon & Lam, LLP
                                      521 Fifth Avenue, 17th Floor
                                      New York, New York 10175
                                      (212) 295-5828
                                      clam@bkllawyers.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                            CLERK OF COURT


Date:        10/5/2022
                                                                                       Signature off C
                                                                                                     Clerk
                                                                                                       lerk or Deputy Clerk
        Case 2:22-cv-05947-GRB-JMW Document 8 Filed 10/05/22 Page 2 of 3 PageID #: 32

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

JASMINE CAMPBELL, on behalf of herself and others                    )
             similarly situated,                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 2:22-cv-5947(GRB)(JMW)
                                                                     )
LEARN & PLAY CENTER INC. d/b/a LEARN & PLAY
                                                                     )
 CENTER and BRIGHT START HOME LEARNING
  CENTER, YVONNE CONDE, and JACQUELINE
                                                                     )
                 CONDE,                                              )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)YVONNE CONDE
                                      c/o Learn and Play Center
                                      2163 Grand Avenue
                                      Baldwin, New York 11510




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Clara Lam, Esq.
                                      Brown Kwon & Lam, LLP
                                      521 Fifth Avenue, 17th Floor
                                      New York, New York 10175
                                      (212) 295-5828
                                      clam@bkllawyers.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                              CLERK OF COURT


Date:       10/5/2022
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                                                                                                  of Clerk or Deputy Clerk
        Case 2:22-cv-05947-GRB-JMW Document 8 Filed 10/05/22 Page 3 of 3 PageID #: 33

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

JASMINE CAMPBELL, on behalf of herself and others                    )
             similarly situated,                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 2:22-cv-5947(GRB)(JMW)
                                                                     )
LEARN & PLAY CENTER INC. d/b/a LEARN & PLAY
                                                                     )
 CENTER and BRIGHT START HOME LEARNING
  CENTER, YVONNE CONDE, and JACQUELINE
                                                                     )
                 CONDE,                                              )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)JACQUELINE CONDE
                                      c/o Learn and Play Center
                                      2163 Grand Avenue
                                      Baldwin, New York 11510




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Clara Lam, Esq.
                                      Brown Kwon & Lam, LLP
                                      521 Fifth Avenue, 17th Floor
                                      New York, New York 10175
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                              CLERK OF COURT


Date:       10/5/2022
                                                                                       Signaturee of
                                                                                                  of Clerk or Deputy Clerk
